              Case 3:12-cr-03641-CAB                     Document 54                 Filed 10/12/12            PageID.107              Page 1 of 2


     'AO 245B (CASD) (Rev, 1112)   Judgment in a Criminal Case
                 Sheet 1                                                                                                                    r-- 1f •
    ===============================================================================C='~==========f)
                                             UNITED STATES DISTRICT COURT                                                             120eT 12 Pi, 3: 32
                                       SOUTHERN DISTRICT OF CALIFORNIA                       -..:H~i~;/; ;~~: ,',:v~ ,,' C( _ ,;'
                     UNITED STATES OF AMERICA          JUDGMENT IN A CRIMINAL CASE ~'vl'''''i ,-,' .. At:F",.'hi',
                                v.                     (For Offenses Committed On or After Ntl~ber I, 1987) Q,­
                                                                                                                         Dealry
               JOSE ALEJANDRO PRADO-HERRERA (I)                                      Case Number: 12CR3641-CAB
                                                                                     DOUGLAS C. BROWN
                                                                                     Defendant's Attorney
    REGISTRATION NO. 87727198

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s) ONE (1) OF THE ONE-COUNT lNFORMATlON

     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                        Nature of Offense                                                                               Number(s)
8 USC 1324(a)(1)(A)(ii)               TRANSPORTATION OF ILLEGAL ALIENS AND AIDING AND ABETTING
and (v)(II)




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D   The defendant has been found not guilty on count(s)
                                                            -----------------------------------------------------
  D Count(s)_______________________________________ is D                       are D dismissed on the motion of the United States.
  181 Assessment: $100.00

  181 No fine.                                      D Forfeiture pursuant to order filed ________________ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances,




                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                               12CR364I-CAB
       Case 3:12-cr-03641-CAB                        Document 54        Filed 10/12/12        PageID.108          Page 2 of 2


AO 2458 (CASD) (Rev. 1/12)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment
                                                                                              Judgment -   Page   2   of     2
 DEFENDANT: JOSE ALEJANDRO PRADO-HERRERA (1)
 CASE NUMBER: 12CR3641-CAB
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         EIGHT (8) MONTHS.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o    The court makes the following recommendations to the Bureau of Prisons:




    o The defendant is remanded to the custody of the United States Marshal.
     o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.      on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        ----------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                               RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at __________________ , with a certified copy of this judgment.



                                                                                            UNITED STATES MARSHAL


                                                                     By ________~~~~~~~~~-----------
                                                                                         DEPlITY UNITED STATES MARSHAL




                                                                                                                      12CR3641-CAB
